                   UNITED STATES DISTRICT COURT
                    MIDDLE DISTRICT OF FLORIDA
                      JACKSONVILLE DIVISION

COQUINA CROSSING
HOMEOWNERS ASSOCIATION,
INC., in its representative capacity
on behalf of itself, and all current
and former mobile homeowners
in the Park,
      Plaintiff,                       Case No.3:21-cv-00084

Vs.

MHC OPERATING LIMITED
PARTNERSHIP, EQUITY
LIFESTYLE PROPERTIES, INC.,
MHC COQUINA CROSSING,
L.L.C., ERIC ZIMMERMAN,
GENA MAY, JARED LAMBERT,
WILLIAM SMOLJANOVICH,
MARTA LINDSTROM, FLORIDA
MANUFACTURED HOUSING
ASSOCIATION, INC., JOSEPH
ALLEN BOBO, AND LUTZ,
BOBO & TELFAIR, P.A.,
d/b/a Lutz, Bobo, Telfair,
Eastman & Bobo, f/k/a
Lutz, Webb & Bobo, P.A.,
    Defendants.
________________________/

               AMENDED COMPLAINT AND DEMAND
                       FOR JURY TRIAL
                    (ADA CLAIM OMITTED)




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      The Coquina Crossing Homeowners Association, Inc., in its

representative capacity on behalf of itself, and over 900 current and former

mobile homeowners in the Coquina Crossing Mobile Home Park (“Park”),

by and through the undersigned counsel, bring this Complaint against

these Defendants, divided into three descriptive relationships:

      • The MHC/Equity LifeStyle Defendants: Defendants

         MHC Operating Limited Partnership, a foreign (Illinois)

         limited partnership, Equity LifeStyle Properties, Inc., a foreign

         (Maryland) corporation, MHC Coquina Crossing, L.L.C., a

         Delaware limited liability company, Eric Zimmerman, an

         individual, Gena May, an individual, Jared Lambert, an

         individual, William Smoljanovich, an individual, and Marta

         Lindstrom, an individual;

      • The FMHA Trade Association Defendant: Florida

         Manufactured Housing Association, Inc., a Florida corporation;

      • The Lutz Bobo Law Firm Defendants: J. Allen Bobo, an

         individual, and Lutz, Bobo & Telfair, P.A., a Florida corporation.

The individuals and entity defendants described above are collectively

referred to in this Complaint as “Defendants.” The Plaintiff further alleges:



                                      3
I.    INTRODUCTION

      1.     Beginning at a time uncertain, but as least as early as 2011,

and continuing on through the present time, the Defendants have entered

into and engaged in a conspiracy, combination, or concert of consciously

parallel business conduct: a) in unreasonable restraint of trade and

commerce within the State of Florida and elsewhere with effects in the

State of Florida in violation of §542.18 of the Florida Antitrust Act of 1980;

and b) to monopolize, attempt to monopolize, or combine or conspire with

any other person or persons to monopolize any part of trade or commerce

within the State of Florida and elsewhere with effects in the State of Florida

in violation of §542.19 of the Florida Antitrust Act of 1980; by agreeing to

the following:

             A.	Extort adoption of an illegal rental agreement;

             B.	Imposed fraudulent and unreasonable lot rental

                   categories and amount;

		           C.    Defendants Impose Illegal Fees and Charges; and

             D.    Unreasonably eliminated or reduced services.

      Engaging in the business of owning and operating mobile home

parks within the State of Florida constitutes trade or commerce within the

meaning of Chapter 542, Fla. Stat.
                                       4
      2.     As a result of the unlawful conduct, the elderly mobile home

owners represented by the Coquina Crossing Homeowners Association,

Inc., suffered an antitrust injury resulting in damages in excess of

$30,000.00. This conspiracy, combination, or concert of action resulted in

higher mobile home lot rental prices paid by elderly natural persons for the

use of mobile home park facilities than would have existed in a competitive

market.

      3.     Defendants’ unlawful conduct is continuing and unless

equitable relief is granted artificially inflated mobile home lot rental prices

for the use of mobile home park facilities will continue unabated.
      A.     Representative Action by the Coquina Crossing HOA

      4.     Plaintiff Coquina Crossing Homeowners Association, Inc.,

(“Coquina Crossing HOA”), is a Florida not-for-profit corporation with

its principal place of business located at P.O. Box 42, St. Johns County,

Elkton, Florida. The Coquina Crossing HOA is an incorporated mobile

home owner association and the legal representative under § 723.075

(1), Fla. Stat., of all of the mobile home owners in the Park “in all

matters relating to the Florida Mobile Home Act.” See] §§ 723.075(1) and

723.076(1) and “matters of common interest .” Rule 1.222, Fla. R. Civil P.

The Plaintiff represents itself, and over 900 current and former mobile

                                       5
homeowners in the Park. The relationship between the Coquina Crossing

HOA, the homeowners represented by the Coquina Crossing HOA and the

Park owner or operators is regulated under Chapter 723, Fla. Stat., and

encompasses a broadly defined “lot rental agreement” which includes, inter

alia, a prospectus. Exh. A is attached and adopted.

  B.        The Nature of the Product or Service: “55 or Older”
		          Mobile Home Park

      5.    The Park is an age 55 or older mobile home park with 742

mobile home rental residential lots. The Park is located at 4536 Coquina

Crossing Dr., St. Johns County, City of Elkton, Florida. The Plaintiff mobile

homeowners are largely elderly persons over 65 years of age. The mobile

homes are valued between $25,000 and more than $100,000. Most homes

are paid for with cash, usually comprising all or a substantial amount of the

homeowners’ life savings. They lease the lot underneath their mobile home

from the Park owner or operators.

      C.	Sam Zell, Chairman of Equity Lifestyle, Likes the
          “Oligopoly” Nature of the Mobile Home Park Industry

      6.    Approximately 1.8 million Floridians today live in a mobile

home. In a 2014 Tampa Bay Times newspaper article, it was noted that

the population of Florida mobile homeowners represents five times the

entire population of the city of Tampa, Florida. Most of those homeowners
                                      6
earn less than $30,000 per year. Largely, those mobile homeowners are a

captive audience: “... As Frank Rolfe, a park owner who runs [the[ Mobile

Home University, a boot camp for investors, told Bloomberg, ‘We’re like a

Waffle House where everyone is chained to the booths.” Mobile home park

investors bet on older, poorer America, Tampa Bay Times, May 19, 2014.1

“Years ago, the mobile home industry was mostly ignored save for a few

investment titans. Warren Buffet paid $1.7 billion in 2003 to buy Clayton

Homes, one of America’s largest mobile home conglomerates. Sam Zell,

the billionaire chairman of Equity Lifestyle, said in a 2012 conference call

he liked the ‘oligopoly nature of our business.’” [referring to the mobile

home park industry] Id. The MHC/Equity LifeStyle Defendants directly or

indirectly own, control, or operate 77 age-qualified Florida mobile home

parks with approximately 32,000 mobile home sites with gross revenues in

excess of $230 million annually.

 D. Geographic Area or the Market: St. Johns County,
		Florida

       7.      St. Johns County has a population of approximately 275,000

persons. Sixteen per cent of the population is 65 years of age or older.

There are twelve mobile home parks in St. Johns County, Florida. Five


1       https://www.tampabay.com/news/business/realestate/mobile-home-park-investors-bet-
on-older-poorer-america/2180277/
                                            7
of those parks are “55 or older” mobile home parks which would market

to a group of elderly retirees, such as those represented by the Coquina

Crossing HOA. The monthly lot rental amount varies by only a minor

amount between the Park and the “comparables” used by the Defendants in

rejecting the representative Coquina Crossing HOA’s attempts to negotiate

mitigation of the existing regular annual lot rental increases of four to five

per cent.
II.   DEFENDANTS
      A.     The MHC/Equity LifeStyle Defendants

      8.     Defendant MHC Operating Limited Partnership (“MHC

Operating”), is a foreign (Illinois) limited partnership, formed in 1993

with a principal address of Two North Riverside Plaza, Suite 800, Chicago,

Illinois, which is also the Chicago corporate headquarters for Defendants

Equity LifeStyle Properties, Inc. and MHC Coquina Crossing, L.L.C. MHC

Operating is also engaged in business at the Park. MHC Operating is a

general partner of Equity LifeStyle Properties, Inc., since April 2004. MHC

Operating is described in official court records in the St. Johns County

Clerk of Court as the “mobile home park owner” of the Park as defined by

§ 723.003(13), Fla. Stat., which includes an “owner” or “operator.” MHC

Operating is also an operator of the Park.

                                       8
      9.    Defendant Equity LifeStyle Properties, Inc., (“Equity

LifeStyle”) is a foreign (Maryland) corporation with its principal place

of business in Florida at: 4300 W. Cypress St., Suite 400, Tampa, in

Hillsborough County; and in Illinois at: Two North Riverside Plaza, Suite

800, Chicago, Illinois. Equity LifeStyle is the “mobile home park owner”

of the Park as defined by § 723.003(13), Fla. Stat., which includes an

“owner” or “operator.” Equity LifeStyle is also an operator of the Park.

Equity LifeStyle is publicly traded on the New York Stock Exchange. Equity

LifeStyles is a subsidiary of MHC Operating Limited Partnership.

      10.   Defendant MHC Coquina Crossing, L.L.C. (“MHC

Coquina Crossing”) is a Delaware limited liability company with its

principal place of business located at Two North Riverside Plaza, Suite

800, Chicago, IL 60606, which is also the Chicago corporate headquarters

for Defendants Equity LifeStyle Properties, Inc., and MHC Operating

Limited Partnership. MHC Coquina Crossing is also engaged in business

at the Park. MHC Coquina Crossing is described in official court records

in the St. Johns County Clerk of Court as the “mobile home park owner”

of the Park as defined by § 723.003(13), Fla. Stat., which includes an

“owner” or “operator.” MHC Coquina Crossing is also an “operator” of the

Park as defined by § 723.003(16), Fla. Stat. Its Managing Member is MHC
                                      9
Operating Limited Partnership, the same holding company for Defendant

Equity LifeStyle Properties, Inc.

      11.   Defendant Eric Zimmerman is an individual citizen

of Florida domiciled at 12629 New Brittany Blvd., #16, Fort Myers, in

Lee County, Florida. Eric Zimmerman was a Regional Vice President

of Defendant Equity LifeStyle Properties, Inc., from 2011 through July

2018. He is currently Vice President and Chief Operating Officer at Murex

Properties, LLC. Eric Zimmerman was also engaged in business from 2011

through July 2018 as an operator of the Park as defined by § 723.003(16),

Fla. Stat. He has held leadership positions of the Defendant Florida

Manufactured Housing Association, Inc. – the trade association for park

owners.

      12.   Defendant Gena May is an individual citizen of Florida

domiciled at Lake County at 13510 Palo Ct., Clermont, Florida. Gena May

was a Regional Manager of Defendant Equity LifeStyle from July 2009

through May 2016. Gena May was also engaged in business from July 2009

through May 2016 as an operator of the Park as defined by § 723.003(16),

Fla. Stat. Gena May is currently employed as a Regional Vice President of

Operations & Sales with Sun Communities since May 2016.

      13.   Defendant Jared Lambert is an individual citizen of Florida
                                     10
domiciled at Polk County 4634 Devonwood Ct., Lakeland, Florida. Jared

Lambert was a Senior Regional Manager of Defendant Equity LifeStyle

from October 2011 through July 2017. Jared Lambert is currently employed

as a Regional Vice President with Murex Properties, LLC, since April 2020.

Jared Lambert was also engaged in business from 2011 through 2017 as an

operator of the Park as defined by § 723.003(16), Fla. Stat.

      14.   Defendant William Smoljanovich is an individual citizen

of Florida domiciled on Pasco County at 31351 Bridgegate Dr., Wesley

Chapel, Florida. William Smoljanovich is a Regional Manager of Defendant

Equity LifeStyle from 2018 through present. William Smoljanovich was

also engaged in business from 2018 through present as an operator of

the Park as defined by § 723.003(16), Fla. Stat. William Smoljanovich

was previously a Regional Vice President of Sales and Operations at Sun

Communities.

      15.   Defendant Marta Lindstrom is an individual citizen of

Florida domiciled at Volusia County at 11 Brookside Cir., Ormond Beach,

Florida. Marta Lindstrom was the Park manager and operator from 2018

to 2020. Marta Lindstrom was recently hired by Murex Properties, L.L.C.,

to be the Park manager at Aberdeen Mobile Home Park in Ormond Beach,

Florida.
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      16.   MHC Operating, Equity LifeStyle, MHC Coquina Crossing,

Eric Zimmerman, Gena May, Jared Lambert, William Smoljanovich, and

Marta Lindstrom are collectively referred to herein as the “MHC/Equity

LifeStyle Defendants.”

      B.    The FMHA Trade Association Defendant

      17.   Defendant Florida Manufactured Housing Association,

Inc., (“FMHA Trade Association Defendant”) is a Florida

corporation with its principal place of business at 1284 Timberlane Rd.,

Tallahassee, Florida. The FMHA Trade Association Defendant is a trade

association for all Florida mobile home park owners.

      C.    The Lutz Bobo Law Firm Defendants

      18.   Defendant J. Allen Bobo (“Allen Bobo”) is an individual

citizen of Florida domiciled in Sarasota County, Florida at an unknown

physical address. Allen Bobo is a licensed Florida lawyer since 1982, a

partner, principal, or shareholder of Defendant Lutz, Bobo & Telfair, P.A.,

2 N. Tamiami Trail, Ste. 500, Sarasota County, Sarasota, Florida.

      19.   Defendant Lutz, Bobo & Telfair, P.A. (“Lutz Bobo

Law Firm”), d/b/a Lutz, Bobo, Telfair, Eastman, Gabel & Lee, f/k/a

Lutz, Webb & Bobo, P.A., is a Florida corporation which operates in Leon

County, Florida at 2155 Delta Blvd., Suite 201B, Tallahassee, Florida and
                                     12
in Sarasota County, Florida at One Sarasota Tower, Two North Tamiami

Trail, Fifth Floor, Sarasota, Florida.

        20.   Allen Bobo and the Lutz Bobo Law Firm are collectively

referred to herein as the “Lutz Bobo Law Firm” Defendants.

III.    JURISDICTION AND VENUE

        21.   Count One of this Complaint is an action for treble damages

for violation of §§ 542.18 and 542.19 of the Florida Antitrust Act of

1980, Chapter 542, Fla. Stat., in accord with § 542.22, Fla. Stat., and for

injunctive or other equitable relief in accord with § 542.23, Fla. Stat. This

Court has jurisdiction of this claim under § 542.30, Fla. Stat. This Court

also has personal jurisdiction over each Defendant under § 48.193, Fla.

Stat., because, among other reasons, each Defendant operates, conducts,

engages in, or carries on a business or business venture in the State of

Florida or has an office in the State of Florida or has committed a tortious

act or acts within the State of Florida.

        22.   Venue is proper under §§ 47.011, 47.021, and § 542.30, Fla.

Stat.

        23.   Plaintiff seeks damages in excess of $30,000.00, injunctive

or other equitable relief, attorneys’ fees, and costs on behalf of the

represented mobile homeowners.
                                         13
IV.   ACTS IN FURTHERANCE OF THE CONSPIRACY

      A.     Extort Adoption of an Illegal Rental Agreement

      24.    The MHC/Equity LifeStyle Defendants have, over the past five

years repeatedly, and outside of either statutory meetings or confidential

mediation efforts, extorted the representative Coquina Crossing HOA

and Plaintiff mobile homeowners to adopt an illegal standardized lot

rental agreement (“LTA”) authored and drafted by the Lutz Bobo Law

Firm Defendants. The FMHA Trade Association Defendant encouraged

distribution and discussion of the terms of the LTA among its assembly

of mobile home park owners. A copy of the form or standardized LTA is

attached as Exhibit B and adopted.

      25.    Section 3 of the standardized LTA required that if the Coquina

Crossing HOA contended that MHC Coquina Crossing was in violation

of the LTA, the prospectus, any rental agreement, or the Florida Mobile

Home Act, the Coquina Crossing HOA must notify MHC Coquina Crossing

in writing of the facts “giving rise to and constituting such alleged Non-

Compliance” by certified mail within thirty days of the date the Coquina

Crossing HOA received reasonable notice of such facts. The LTA then

provided MHC Coquina Crossing fifteen days from receipt of the notice

to “cure” the alleged non-compliance. Upon completion of any such cure,
                                      14
MHC Coquina Crossing was to be “deemed” not to have been in default or

in violation.

         26.    Section 3 of the LTA required that the thirty day notice and

fifteen day opportunity to cure provisions be deemed to be a condition

precedent to any legal action.

         27.    Section 4 of the LTA prohibited an award of attorneys’ fees

or costs in any proceeding “by or on behalf of any former or current

Homeowner seeking to invalidate or otherwise dispute the validity of the

[LTA].” Further, section 4 of the LTA required the Coquina Crossing HOA

and MHC Coquina Crossing to “mutually enforce this Agreement and

cooperate fully in the event the validity or integrity of this Agreement is

attacked or disputed by any such Homeowner.”

         28.    Section 5 of the LTA required that any controversy or claim

related to the LTA shall first require non-binding mediation under Chapter

44, , Fla. Stat. Section 5 also required that in any court proceeding “arising

out of or relating to” the LTA, the parties must waive their right to a jury

trial.

         29.    Section 6 “Association Release” of the LTA expressly releases

the Defendants (along with a broad litany of unknown and unidentified

persons and entities) and:
                                        15
             ... their parents, affiliates, subsidiaries, officers, directors,
             agents, stockholders, members, attorneys, successors and
             assigns from any and all claims, actions or causes of action of
             any kind whatsoever ?? (“Claims”), whether legal, equitable,
             administrative, or otherwise, which the Association now has
             or ever had including, but not limited to, Claims involving
             or relating to rents, services, maintenance, or Owner’s
             compliance with or delivery of the Community’s prospectuses,
             rental agreements, as well as any other alleged violation of
             Chapter 723, Florida Statutes. The Claims shall specifically
             include all claims, actions, causes of action, or reduction in
             service arising or in any related to the lack of an indoor pool
             from approximately August 2011.

      30.    Section 6 (or an unmarked Section 7) of the LTA elevated

the LTA as controlling in the event of a conflict between the LTA and the

prospectus or rental agreement.

      31.    Section 8 of the LTA declared that the LTA superseded all

prior and contemporaneous discussions, negotiations, conditions or

understandings relating to the LTA.

      32.    Section 9 of the LTA required that the Coquina Crossing HOA

“confirm the validity” of the LTA and execute documents and take action

as requested by the Defendants to “carry out or more effectively satisfy the

intent and purposes” of the LTA.

      33.    The above provisions of the LTA are in clear violation of

Chapter 723, The Florida Mobile Act, the Florida Constitution, and the U.S.

Constitution and are injurious to the Plaintiff.
                                      16
      34.   The MHC/Equity LifeStyle Defendants’ close relationships

with the FMHA Trade Association Defendant, and the Lutz Bobo Law

Firm Defendants enable them to collaborate with other mobile home

park owners and ultimately with each other to develop and expand state-

wide adoption of the LTA by other mobile home park owners. In 2016

Attorney Allen Bobo, partner in the Lutz Bobo Law Firm, described that

he worked closely with Eric Zimmerman, then Senior Vice President of

Equity LifeStyle, on revisions and implementation of LTAs identical to the

LTA in the instant cause. In one instance, recited Allen Bobo, a homeowner

(in another Equity LifeStyle Park) pointed to an ambiguity in the LTA

favorable to their homeowner association. In response, Eric Zimmerman

then quipped to Allen Bobo: “How did you miss that one, Allen?”

      35.    In the March 28, 2013 meeting notes of the Equity LifeStyle

supported Networking for Progress Group, the notes taken of the meeting

between representatives of various Florida Equity LifeStyle Parks and Eric

Zimmerman discussed the LTA:




                                     17
                                              ****
               ELS standardized the Long Term Agreement 3-4 years ago but
               has made some minor tweaks to it as needed. The only thing
               that will change from community to community will be the
               amount of the increase and the term. There will be no wish
               lists included in future LTAs, strictly rent. Wish lists (to be
               included in the Capx budget), are to be discussed with the
               manager and regional manager at the quarterly meetings
               (which must be requested).
                                              ****

(Exh. C is attached and adopted)

      36.      In the September 12, 2013 meeting notes of the Select

Committee of the Equity LifeStyle supported Networking for Progress

Group, the notes taken of the meeting between representatives of various

Florida Equity LifeStyle Parks and Eric Zimmerman discussed the LTA:

                                               ****
               Long Term Agreements: were discussed, first with the ELS
               definition being a rental agreement that may change the
               terms of the prospectus. This was not an in depth discussion
               of rental agreements but was brought up because several
               communities are reporting that ELS has refused to meet and
               discuss long term agreements. We were reminded by Eric
               [Zimmerman] that they are actually required to meet just
               once and that should be within the thirty days (as requested)
               after receiving the 90 day notice per FS, Chapter 723.037. Eric
               [Zimmerman] pointed out that the negotiating committee has
               the full authority to sign the long term agreement.
                                               ****

(See Exh. C)




                                       18
      37.   In the November 21, 2013 meeting notes of the Select

Committee of the Equity LifeStyle supported Networking for Progress

Group, the notes taken of the meeting between representatives of various

Florida Equity LifeStyle Parks and Eric Zimmerman discussed the LTA:

                                           ****
            Future LTAs will be reviewed by in house counsel. It was
            pointed out that the language in the LTA, particularly that
            referring to the waiver, is one of the reasons that communities
            are not signing the agreement. Eric [Zimmerman] pointed out
            that that paragraph refers only to situations that have occurred
            to that point (NOT FUTURE SITUATIONS). If there are issues
            serious enough that you are considering legal action against
            ELS they should be discussed (prior to signing the agreement)
            in an effort to work them out. The purpose of the waiver is
            after working out a favorable agreement in good faith, they
            (ELS) don’t want to be faced with a lawsuit.

            Remember, if you previously signed the long term agreement
            (LTA) (containing the clauses referenced above), when the
            LTA expires, so do the terms of those clauses, UNLESS the
            LTA contained language stating otherwise. Communities
            with CPI (only) based increases typically don’t have long term
            agreements. Eric [Zimmerman] explained that the release for
            ELS in the LTA speaks to the many reasons somebody may
            choose to sue them. The reason the HOA isn’t offered the same
            release is because there don’t appear to be any reasons why
            ELS would want to sue them.

            Long Term Agreements may vary, but are typically three years.
            Rounding of rent increases are determined by the prospectus
            for the community, some allow rounding up to one (1) dollar,
            some allow up to five (5) dollars.

            There are no penalties for not signing the long term
            agreement.
                                     19
               Market, CPI, home sales and a variety of economic factors are
               taken into consideration to determine rates of increase, not
               the expected return to stockholders, as suggested.

                                            ****

(See Exh. C)

      38.      In the February 19, 2015 meeting notes of the Select

Committee of the Equity LifeStyle supported Networking for Progress

Group, the notes taken of the meeting between representatives of various

Florida Equity LifeStyle Parks and Eric Zimmerman discussed the LTA:

                                              ****
               ... Relocating resident policy: ELS’s policy regarding
               relocating residents is the same as addressed in the LTA
               under Homeowners Affected by this Agreement; Transferees.
               lf ..... any included Homeowner transfers or sells any legal or
               equitable interest in such Homeowner’s mobile home to any
               transferee or resale purchaser (collectively, a “Transferee”),
               the Transferee shall be permitted to assume such included
               Homeowners rental agreement but only for the remainder
               of the annual lease term then in effect between the included
               Homeowner and Owner. Upon the expiration of such annual
               lease term the Transferee’s rent shall be adjusted to the
               Community’s then prevailing market rate ..... “ Which is
               basically the same as FS Chapter 723.059 (3) The purchaser
               of a mobile home who becomes a resident of the mobile home
               park in accordance with this section has the right to assume
               the remainder of the term of any rental agreement then in
               effect between the mobile home park owner and the seller
               ........... .




                                       20
             It should be noted that residents relocating within the
             community that are purchasers of ELS inventory homes won’t
             have a lease to assume and will start their new lease at market
             rent but are eligible for any rent concession programs being
             offered to new residents at that time.

                                            ****

(Exh. D is attached and adopted)

      39.    In 2016, Florida Attorney Shawn Arbeiter disclosed that

Attorney Allen Bobo (then a partner and shareholder of the Lutz Bobo Law

Firm) had made numerous and regular annual presentations to the FMHA

Trade Association Defendant’s annual meeting of Florida mobile home

park owners informing the FMHA Trade Association Defendant’s assembly

of litigation tactics of mobile home plaintiffs’ attorneys. According to

Arbeiter, those lengthy presentations by Bobo included opinionated and

disparaging remarks by Bobo and assembly members of the undersigned

Plaintiff’s Counsel Perry’s trial strategy including, but not limited to:

application of the Florida Deceptive and Unfair Trade Practices Act to lot

rental, common area maintenance, and LTA issues in state court litigation.

Attorney Bobo also disclosed that in an earlier and separate presentation

to the FMHA Trade Association Defendant assembly, he described existing

statewide mobile home lot rental amounts as “not high enough,” explaining

that if lot rent increases were appropriately higher, that retiree mobile
                                       21
homeowners would be filing lawsuits all over the state.

      40.      Since 2016, the Equity LifeStyle Defendants have imposed

a flat four per cent annual lot rental increase. The Equity LifeStyle

Defendants refused to discuss with the representative Homeowners’

Committee of the Coquina Crossing HOA the basis or justification for the

flat four per cent increase. The Equity LifeStyle Defendants flatly rejected

the Coquina Crossing HOA’s Homeowners’ Committee’s submission of

other park comparables and other matters in mitigation in violation of

Florida law.

      41.      On repeated occasions since 2016, the Equity LifeStyle

Defendants extorted the elderly Plaintiff and their representative Coquina

Crossing HOA in violation of Florida law by offering to consider a lesser lot

rental increase if the Plaintiff and their representative Coquina Crossing

HOA would agree to execute an illegal standardized LTA on behalf of all of

the plaintiff homeowners in the Park.

B.    Fraudulent and Unreasonable Lot Rental Categories and
      Amount

      42.      The Equity LifeStyle Defendants’ lot rental categorization

of “on water” is false and fraudulent. The Park “on water” categorization

are simply retention ponds. During substantial periods of the year those


                                       22
retention ponds are eyesores and a drag on access, use, and enjoyment of

the property or Park.

      43.     Lots categorized as facing a “wooded” are also false and

fraudulent. The land falsely attributed to “wooded” is simply conservation

area with accumulated overgrowth, rubbish and debris. According to

the local Fire Marshall, the close proximity of a home to the “wooded”

conservation area creates a significant fire risk to those homes.

      44.     Lots facing or in proximity to a “wooded” currently pay a

premium of approximately $40 per month or $480 per year. “Water” lots

pay a premium of approximately $120 per month or $1,440 per year.

      45.     There are 742 approved lots in the Park which include 36

rentals. Approximately 260 homeowners pay an average of $912 per year

or a total of $237,120 for falsely being on “water” or in the proximity of

a “wooded” area. Considering that the average residency for a mobile

homeowner is ten years, the damages from the false and fraudulent lot

rental premium categorization exceeds 2.3 million dollars.

C.	Defendants Impose Illegal Fees and Charges

      46.     The following fees and charges “authorized” by the Prospectus2

were implemented or are enforced in an illegal, discriminatory, retaliatory,


2     Exhibit A. The fees indicated were handwritten entries on the Prospectus.
                                             23
or unreasonable manner by the Equity LifeStyle Defendants in violation of

Florida and federal law or are otherwise unconscionable and oppressive:


             • New Resident Processing Charge ($300);

             • Additional Occupant/Guest Fee ($15 per person per

                month);

             • Delinquent Lot Rental Fee (10% late fee due if not paid on

                or before the fifth day of the month);

             • Special Service Fee ($15 per hour - minimum one hour);

             • Water or Sewer Line Repair Fee.

D.	Defendants Unreasonably Eliminate or Reduce Services

      47.    The Equity LifeStyle Defendants unreasonably eliminated

or reduced services without an advance 90 day written notice or a

corresponding reduction in lot rent in violation of Florida law, including,

but not limited to:

		           A.	The Equity LifeStyle Defendants are unresponsive and

                      have reduced maintenance;

                      1.   Full-time maintenance staff reduced. During the

                           class period maintenance employees’ hours were

                           reduced by 70 hours per week of maintenance

                           labor;
                                      24
       2.    The Equity LifeStyle Defendants do not

             respond to the phone calls, emails, and other

             correspondence;

       3.    The Equity LifeStyle Defendants do not conduct

             360-degree home inspections; does not enforce

             rules and regulations and are unavailable after

             normal business hours to enforce the rules and

             regulations;

		B.   Pool, Hot-tub/spa

       1.    The Park swimming pools and hot tub bottoms

             are frequently discolored and unsightly, causing

             homeowners to question their cleanliness. The

             grouting around the edges of the outdoor pool

             and the hot tub require replacement or repair.

             The Hoyer lift in the indoor pool is inoperative;

       2.    The Equity LifeStyle Defendants purchased

             unsafe pool furniture resulting in falls by

             homeowners;

		C.   Security

       1.    The Equity LifeStyle Defendants are unresponsive
                           25
             to homeowner or law enforcement reports

             of criminal behavior in the Park. The Equity

             LifeStyle Defendants have neglected to provide

             law enforcement standing permission to issue

             trespass orders to strangers who enter the Park;

       2.    The Park gate and the gate security camera

             system have been inoperative for weeks and

             months at a time;

		D.   Clubhouse

       1.    The Equity LifeStyle Defendants have no security

             or supervision of members of the general public

             who use the clubhouse facilities.

		E.   Common Areas - Facilities, lighting, landscaping, etc.

       1.    There are inadequate Park-wide water shut-off

             valves. The shut-off valves for each home were

             buried and often defective;

       2.    Partial power outages in the Park are common

             occurrences. Several sections in the Park are

             on conjoined breakers which, in the event of a

             power loss, delay restoration of electricity for days
                         26
          while the rest of the Park enjoys restoration of

          electricity in a matter of hours.

F.   Common Areas - Streets

     1.   The streets throughout the Park and clubhouse

          parking lots are in disrepair, crumbling and

          dangerous to pedestrians and bicycle traffic. The

          Equity LifeStyle Defendants’ periodic repaving

          of the clubhouse parking lot did not include

          a working drainage system to eliminate the

          conditions;

     2.   Streets throughout the Park are unsightly. Grass

          grows in some of the cracks in the pavement;

     3.   The Park water sprinklers are infrequently

          activated or when activated are not left on long

          enough to provide adequate water for the lawns.

          Typically, the water sprinklers are misdirected

          and not adjusted to provide even coverage. The

          consequence of improper sprinkling is that the

          lawns in the Park are unsightly and damaged;



                        27
             G.     “55 and Older” Park

                    1.    The Equity LifeStyle Defendants have failed

                          to supervise or restrict children in the shared

                          facilities in the Park as required by the properly

                          promulgated Park rules and regulations.

                          Unlicensed persons frequently drive golf carts

                          without supervision.

V.    COUNT I: FLORIDA ANTITRUST ACT

			(Against All Defendants)

			§§ 542.18 and 542.19, Fla. Stat.

      48.    Plaintiff realleges and restates paragraphs 1 through 47 as if

fully set forth herein and further state:

      49.    This is an action against the MHC/Equity LifeStyle

Defendants, FMHA Trade Association Defendant, and the Lutz Bobo Law

Firm Defendants for their violation of the Florida Antitrust Act of 1980, §§

542.18 and 542.19, Fla. Stat.

      50.    Since at least October 2016, the MHC/Equity LifeStyle

Defendants (or one or more of its subsidiaries) leased mobile home lots

to the homeowners represented by the Plaintiff, in a continuous and

uninterrupted flow of interstate trade or commerce, including through and
                                       28
into this judicial district within the meaning of the Florida Antitrust Act.

        51.     The  MHC/Equity LifeStyle Defendants, FMHA Trade

Association Defendant, and the Lutz Bobo Law Firm Defendants

knowingly—that is, voluntarily and intentionally—extorted under Florida

law and attempted to entered into a continuing agreement, understanding,

and conspiracy to raise, fix, maintain, and/or to impose a mobile home lot

rental by subjecting the mobile homeowners, their representative mobile

homeowner associations (“HOAs”), and the Park lot rental agreements

to, among other things, impose an illegal Long Term Agreement (“LTA”),

thereby reducing or eliminating price competition.

        52.     To be clear, Plaintiff is not alleging that the MHC/Equity

LifeStyle Defendants, working with FMHA Trade Association Defendant,

and the Lutz Bobo Law Firm Defendants, conspired to fix the prices of

mobile home lot rental amount at the same level. Instead, the MHC/Equity

LifeStyle Defendants, working with FMHA Trade Association Defendant,

and the Lutz Bobo Law Firm Defendants, conspired to eliminate

discounting of lot rental amount by ensuring that all park owners charged

the same minimum price and used the same terms.3 The MHC/Equity


3       As the United States Supreme Court stated in Catalano, Inc. v. Target Sales, 446 U.S. 643,
648 (1980), an “agreement to eliminate discounts” “falls squarely within the traditional per se rule
against price fixing.” (Emphasis added)
                                                 29
LifeStyle Defendants, FMHA Trade Association Defendant, and the Lutz

Bobo Law Firm all share an interest in not reducing the lot rental amount.

      53.    The scheme was anything but “unilateral.” The conduct at

issue here can be characterized as consciously parallel business conduct

similar to how the United States Supreme Court characterized the conduct

at issue in United States v. General Motors Corp.: “once the agreements

were secured, General Motors both solicited and employed the assistance

of its alleged co-conspirators in helping to police them. What resulted

was a fabric interwoven by many strands of joint action to eliminate the

discounters from participation in the market, to inhibit the free choice of

dealers to select their own methods of trade and to provide multilateral

surveillance and enforcement. This process for achieving and enforcing

the desired objective can by no stretch of the imagination be described as

‘unilateral’ or merely ‘parallel.’” 384 U.S. 127, 148 (1966)

      54.    The FMHA Trade Association Defendant, as the Florida

mobile home park owners’ trade association represented by the Lutz Bobo

Law Firm Defendants, worked with the MHC/Equity LifeStyle Defendants

and the Lutz Bobo Law Firm Defendants to develop and implement LTAs

and other matters alleged herein, supra, across Florida mobile home

parks. That is, FMHA Trade Association Defendant, was in a position to
                                       30
communicate to Florida mobile home park owners before it implemented

the scheme including, but not limited to, the LTA that its competitors also

intended to do so and the suggested format of the LTA.

        55.   The MHC/Equity LifeStyle Defendants and the Lutz Bobo Law

Firm Defendants’ close relationships with the FMHA Trade Association

Defendant, enabled them to collaborate with other mobile home park

owners and ultimately with each other to develop these conspiratorial

plans, including the LTA. Since 2015 Allen Bobo, and the Lutz Bobo Law

Firm worked closely with Eric Zimmerman, then Senior Vice President of

Equity LifeStyle, on revisions and implementation of LTAs, for example.

        56.   Each of the MHC/Equity LifeStyle Defendants, FMHA Trade

Association Defendant, and the Lutz Bobo Law Firm Defendants had a

motive to maintain high retail prices for mobile home lot rental amounts.

In addition, in order to encourage independent mobile home park owners

to adopt and implement LTAs, the MHC/Equity LifeStyle Defendants,

FMHA Trade Association Defendant, and the Lutz Bobo Law Firm

Defendants needed to keep the resale mobile home lot rental amounts

high.

        57.   The MHC/Equity LifeStyle Defendants, FMHA Trade

Association Defendant, and the Lutz Bobo Law Firm Defendants have also
                                     31
demonstrated a past propensity to conspire against other mobile home

park owners discounting mobile home lot rental amounts.

      58.   The MHC/Equity LifeStyle Defendants, FMHA Trade

Association Defendant, and the Lutz Bobo Law Firm Defendants’

agreement to implement LTAs has harmed and continues to harm

competition by increasing prices for the mobile home lot rental amounts

made subject to them. Consumers ultimately pay the economic cost of

this wrongful conduct in the form of higher prices for mobile home lot

rental amounts affected by LTAs. The effect of the LTAs has been to limit

consumer choice by depriving them of the ability to shop around for

discounts on mobile home lot rental amounts.

      59.   The MHC/Equity LifeStyle Defendants, FMHA Trade

Association Defendant, and the Lutz Bobo Law Firm Defendants (and their

co-conspirators) furthered and effectuated their conspiracy in the following

ways, among others:

  		        A.	Participating in secret communications, discussions,

                   and meetings in the U.S. to exchange confidential and

                   competitively sensitive information regarding each

                   other’s lot rental amounts charged in their Florida

                   mobile home business;
                                     32
            B.	From time to time, discussing and agreeing during those

                  conversations and meetings to set a price floor to be

                  quoted to a mobile homeowner;

            C.    Perpetuating the Florida mobile home industry-wide

                  intentional frustration of the Plaintiff’s and other

                  representative homeowners’ associations’ statutory right

                  of first refusal to purchase their Park;

            D.	Perpetuating the distribution of an illegal LTA which

                  supports their fixed rent increases and violates Chapter

                  723, Fla. Stat., and the homeowners’ right to a civil

                  jury trial in violation of the Florida and United States

                  Constitution;

            E.	Imposed fraudulent and unreasonable lot rental

                  categories and amount;

            F.    Imposed illegal fees and charges; and

            G.    Unreasonably eliminated or reduced services.

      60.   As a direct and proximate result of the MHC/Equity LifeStyle

Defendants, FMHA Trade Association Defendant, and the Lutz Bobo Law

Firm Defendants’ conduct, the homeowners represented by the Plaintiff

have been harmed and will continue to be harmed by paying supra-
                                     33
competitive lot rental amounts charged in Florida mobile home parks that

they would not have paid in the absence of the conspiracy.

      61.    The MHC/Equity LifeStyle Defendants, FMHA Trade

Association Defendant, and the Lutz Bobo Law Firm Defendants’

combination, conspiracy, acts, and practices, or the effects thereof, are

continuing and will continue and are likely to recur unless permanently

restrained and enjoined.
      RELIEF REQUESTED

      Wherefore, Plaintiff respectfully requests the following relief:

      1.     A jury verdict for compensatory damages;

      2.     A judgment against all defendants, jointly and severally, by the

Court for treble the amount of the jury verdict and for attorney’s fees, costs

and interest as allowable by law for violations of the Florida Antitrust Act;

      3.     An order that each defendant be permanently enjoined from

future violations of Chapter 542, Fla. Stat.

      4.     An order that the plaintiff be awarded its costs of this suit and

reasonable attorney’s fees pursuant to § 542.22(1), Fla. Stat.;

      5.     A judgment and decree that the defendants have engaged in

an unlawful combination or a conspiracy restricting trade and commerce in

violation of §§ 542.18 and 542.19, Fla. Stat.

                                      34
      6.     Award the Plaintiff such other and further equitable and legal

relief as the Court deems just and necessary.

VI.   JURY TRIAL DEMANDED

      Plaintiff hereby demands a trial by jury on all issues triable by jury.

Respectfully submitted,
                                         /s/ Daniel W. Perry
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                                         Main: (407) 894-9003
                                         Counsel for Plaintiff

                       CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on February 25, 2021, I electronically filed

the foregoing with the Clerk of the Court using the CM/ECF system which

will send a notice of electronic filing to all counsel of record.

                                         s/ Daniel W. Perry




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